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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

EDWARD BRAGGS, et al.,                 )
                                       )
         Plaintiffs,                   )
                                       )      CIVIL ACTION NO.
         v.                            )        2:14cv601-MHT
                                       )             (WO)
JOHN HAMM, in his                      )
official capacity as                   )
Commissioner of                        )
the Alabama Department of              )
Corrections, et al.,                   )
                                       )
         Defendants.                   )

              PHASE 2A REVISED REMEDY SCHEDULING ORDER
                    ON THE EIGHTH AMENDMENT CLAIM

       At a status conference on April 8, 2022, the court

took up the following issues with the parties: (1) the

defendants’        proposed     timeline      for   updating     the   2018

staffing analysis of Margaret and Merle Savage (Doc.

3546); (2) the specific dates on which the defendants are

to     file     reports    on    correctional       and    mental-health

staffing, pursuant to §§ 2.1.6, 2.2.4 of the Phase 2A

Omnibus Remedial Order (Doc. 3464); and (3) the parties’

progress towards finding a replacement psychologist for

the     External      Monitoring       Team     (EMT)     following         the
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resignation of Dr. Jacqueline Feldman.                With regard to

the first issue, the court adopts, by agreement of the

parties, the defendants’ proposed timeline, see Defs.’

Proposal Regarding ADOC’s Staffing Unit (Doc. 3546), and

orders that the defendants file notices with the court

confirming that they have met each of their proposed

deadlines.     With regard to the second issue, the court

adopts, by agreement of the parties, the deadlines set

forth in an earlier order for the filing of staffing

reports.     See Phase 2A Understaffing Remedial Order (Doc.

1657)   at    § 4.   The    formatting      for    the   correctional

staffing reports will be revised, if necessary, after

input from the EMT.        See Phase 2A Omnibus Remedial Order

(Doc. 3464) at §§ 2.1.6, 2.2.4.           With regard to the third

issue of finding a replacement member for the EMT, the

parties are to file another joint status report on April

25, 2022.

    Accordingly, it is ORDERED that the deadlines and

dates for the Phase 2A remedy scheduling order for the




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Eighth Amendment claim remain and are revised as set

forth below.




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                                        OLD DATES        NEW DATES

GENERAL
The effective date of the Phase         3/9/2022
2A Omnibus Remedial Order. (Doc.
3464) at § 1.3.

MONITORING
The parties are to file a joint         4/8/2022 at      4/25/2022
status report regarding their           8:00 a.m.
progress towards finding a person
to replace Dr. Jacqueline Feldman
as the EMT’s psychiatrist.

CORRECTIONAL STAFFING
The defendants must submit              On a quarterly   On March 1, June
correctional staffing reports to        basis            1, September 1,
the court and the EMT. (Doc.                             and December 1 of
3464) at § 2.1.6.   By agreement                         each year
of the parties, the defendants
are to submit these reports on
the dates set forth in the Phase
2A Understaffing Remedial Order
(Doc. 1657) at § 4, namely, March
1, June 1, September 1, and
December 1 of each year.
The formatting for the                                   To be determined.
correctional staffing reports
shall be revised, if necessary,
based on input from the EMT. See
Phase 2A Omnibus Remedial Order
(Doc. 3464) at § 2.1.6.
The defendants proposed that they                        4/20/2022
begin developing ADOC’s policy
related to correctional staffing
analysis by March 28, 2022. See
Defs.’ Proposal Regarding ADOC’s
Staffing Unit (Doc. 3546).
Because this deadline has passed,
the defendants are to file a
notice with the court by April
20, 2022, confirming that they
have begun such.
The defendants proposed that they                        4/20/2022
begin collecting information from
ADOC’s major facilities for
updating the Savages’ 2018
staffing analysis by April 1,
2022.    See Defs.’ Proposal
Regarding ADOC’s Staffing Unit

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(Doc. 3546). Because this
deadline has passed, the
defendants are to file a notice
with the court by April 20, 2022,
confirming that they have begun
such.
The defendants are to begin                            5/1/2022
visiting ADOC’s major facilities
to gather information for
updating the Savages’ 2018
staffing analysis. The
defendants shall file a notice
with the court confirming that
they have met this deadline.
Coordinator Cheryl Price and                           7/15/2022
other members of the agency
staffing unit, or “resource
planning unit,” are to
participate, from May 6 through
July 15, 2022, in the training
program on correctional staffing
analysis taught by the National
Institute of Corrections. The
defendants shall file a notice
with the court by July 15, 2022,
confirming that they have met
this deadline.
The defendants are to obtain                           7/15/2022
information from approximately
half of ADOC’s major facilities
for updating the Savages’ 2018
staffing analysis. The
defendants shall file a notice
with the court confirming that
they have met this deadline.
The defendants are to complete                         11/1/2022
the update to the Savages’ 2018
staffing analysis. The
defendants shall file a notice
with the court confirming that
they have met this deadline.
The defendants must develop with        6/1/2022
the Savages and submit to the
court realistic benchmarks for
the level of correctional
staffing ADOC will attain by
December 31 of 2022, 2023, and
2024 to put ADOC on track to fill
all mandatory and essential posts
by July 1, 2025. (Doc. 3464) at
§ 2.1.5.

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Deadline by which ADOC must fill        7/1/2025
all mandatory and essential posts
at the level indicated in the
most recent staffing analysis at
that time. (Doc. 3464) at
§ 2.1.4.



MENTAL-HEALTH STAFFING
The defendants must submit              On a quarterly   On March 1, June
mental-health staffing reports to       basis            1, September 1,
the court and the EMT. (Doc.                             and December 1 of
3464) at § 2.2.4.   By agreement                         each year
of the parties, the defendants
are to submit these reports on
the dates set forth in the Phase
2A Understaffing Remedial Order
(Doc. 1657) at § 4, namely, March
1, June 1, September 1, and
December 1 of each year.
The formatting for the                                   To be determined.
mental-health staffing reports
shall be revised, if necessary,
based on input from the EMT. See
Phase 2A Omnibus Remedial Order
(Doc. 3464) at § 2.2.4.
The EMT shall review ADOC’s             Beginning one
mental-health staffing ratios           year from the
and, if necessary, make                 initiation of
recommendations for revising            monitoring
them. (Doc. 3464) at § 2.2.2.
Deadline by which ADOC must             7/1/2025
achieve the staffing levels set
forth in the staffing matrix
previously approved by the court
in the Phase 2A Order and
Injunction on Mental-Health
Staffing Remedy (Doc. 2688),
subject to any subsequent
modifications. (Doc. 3464) at
§ 2.2.3.

RESTRICTIVE HOUSING
The defendants must file with the       On a weekly
court and the EMT reports on each       basis
inmate who has been in
restrictive housing for longer
than 72 hours under exceptional
circumstances during that week.
(Doc. 3464) at § 3.1.4.

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The parties must submit proposals       6/1/2022
that will allow ADOC’s RHUs (with
the exception of the RHU at
Tutwiler) to function safely with
the correctional staff that ADOC
currently employs. (Doc. 3464) at
§ 2.1.7.3.
Deadline by which all RHU cells         6/8/2022
must be cleaned. (Doc. 3464) at
§ 3.1.1.
Deadline by which all RHU cells         Stayed
must comply with the conditions
set forth in Lindsay M. Hayes’s
Checklist for the
“Suicide-Resistant” Design of
Correctional Facilities (Doc.
3206-5). (Doc. 3464) at § 3.1.3.
Stayed pursuant to opinion and
order on motion to stay. (Doc.
3526) at 75-76.

SUICIDE PREVENTION
ADOC must conduct inspections of        Stayed as to
all suicide watch, SU, and RHU          RHU cells only;
cells to verify that they meet          otherwise, on a
the conditions set forth Lindsay        quarterly basis
M. Hayes’s Checklist for the
“Suicide-Resistant” Design of
Correctional Facilities (Doc.
3206-5). (Doc. 3464) at
§ 2.1.7.2. Stayed as to RHU cells
pursuant to opinion and order on
motion to stay. (Doc. 3526) at
75-76.

HIGHER LEVELS OF CARE
In collaboration with the EMT,          On an annual
ADOC must reassess (1) the number       basis
of inmates on its mental-health
caseload and (2) whether the
current estimate of the
percentage of the mental-health
caseload requiring inpatient
treatment is accurate. (Doc.
3464) at § 11.2.2.
The defendants must submit to the       6/1/2022
court a plan and procedures to
address the serious risk posed by
high temperatures in the
mental-health units. (Doc. 3464)
at § 11.3.

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STATUS CONFERENCES
Triannual status conference, with       5/13/2022 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       8/12/2022 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       11/10/2022 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       2/10/2023 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       7/7/2023 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       11/17/2023 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       2/9/2024 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       7/12/2024 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       11/22/2024 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).
Triannual status conference, with       2/7/2025 at
the parties to submit reports 10        9:00 a.m.
business days before the status
conference (Doc. 3467).

STANDING ORDERS FOR HEARINGS AND
STATUS CONFERENCES
All hearings and evidentiary
hearings shall be in accordance
with the order entered on
1/15/2020 (Doc. 2727), unless
otherwise specified.


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All hearings, evidentiary
hearings, and status conferences
are to be by videoconferencing
unless otherwise specified.
    DONE, this the 13th day of April, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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